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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


    JAWANDA DOVE,

                Plaintiff,

    v.                                          Case No. 3:20-cv-547-MMH-MCR

    FLAGLER COUNTY SCHOOL
    BOARD,

                Defendant.


                                       ORDER

          THIS CAUSE is before the Court on Defendant's Motion to Resolve Trial

    Conflict (Dkt. No. 56; Motion) filed on August 19, 2022. In the Motion, counsel

    for Defendant advise the Court that they have another trial set for the same

    trial term in a case pending in the Orlando Division and request that the Court

    resolve the trial conflict.   See generally Motion.   Counsel represent to the

    Court that counsel for Plaintiff does not object to the relief requested in the

    Motion. See id. at 3. In light of the pending summary judgment motion in

    this matter, the undersigned will continue the trial this case. Accordingly, it

    is

          ORDERED:
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         1.    Defendant’s Motion to Resolve Trial Conflict (Dkt. No. 56) is

               GRANTED to the extent that the Court will continue the trial in

               this matter.

         2.    The following deadlines shall apply:

     All Other Motions Including Motions In Limine         JANUARY 3, 2023
     Responses to Other Motions Including Motions In      JANUARY 17, 2023
     Limine
     Joint Final Pretrial Statement                       JANUARY 17, 2023
     Final Pretrial Conference                            JANUARY 23, 2023
     Time:                                                         10:00 A.M.
     Judge:                                            Marcia Morales Howard
     Trial Term Begins                                    FEBRUARY 6, 2023
      [Trials Before Magistrate Judges Begin on Date                9:00 A.M.
                                            Certain]
     Estimated Length of Trial                                         3 days
     Jury/Non-Jury                                                       Jury



         DONE AND ORDERED in Jacksonville, Florida this 22nd day of

    August, 2022.




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    Copies to:

    Counsel of Record




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